       Case 2:20-cv-00911-KG-CG Document 19 Filed 11/06/20 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

ROBERTO LOPEZ and MARIA LOPEZ,

             Plaintiffs,

v.                                                  No. CV 20-911 KG/CG

STATE FARM FIRE AND CASUALTY
COMPANY,

             Defendant.

             ORDER SETTING TELEPHONIC STATUS CONFERENCE

      THIS MATTER is before the Court after conferring with counsel about a mutually

convenient date and time. IT IS HEREBY ORDERED that a status conference will be

held by telephone on Wednesday, January 27, 2021, at 1:30 p.m. The parties shall

call Judge Garza’s AT&T Teleconference line at (877) 810-9415, follow the prompts,

and enter the Access Code 7467959, to be connected to the proceedings.

     IT IS SO ORDERED.

                                 ________________________________
                                 THE HONORABLE CARMEN E. GARZA
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
